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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Alexandria Division


                                                      )
    Sony Music Entertainment,ei a!.,                  )
                                                      )
                            Plaintiffs,               )
                                                      )
            V.                                        )         Case No. 1:18-cv-950-LO-JFA
                                                      )         Hon. Liam O'Grady
     Cox Communications,Inc., et al.,                 )
                                                      )
                            Defendants.               )
                                                      )
                                                      )

                                               ORDER

        This matter comes before the Court on the Parties' motions in limine to exclude certain

 evidence at trial. Defendants Cox Communications, Inc., et al. ("Defendants" or "Cox")filed

 ten separate motions, which are listed below. Dkts. 471,474,478,482,487,490,493.496,499,

 502. Plaintiffs Sony Music Entertainment, et al., filed an Omnibus Motion in Limine(Dkt. 470)

 comprising eleven distinct requests to the Court, which are also detailed below. The matters are

 all fully briefed, and the Court heard oral argument on November 12, 2019. A memorandum

 opinion will follow to address certain matters in further detail.

        As to Defendants' motions, the Court finds the following:

        /. To Preclude Evidence and Testimony Relating to the BMG Litigation. To the extent

 that disputed testimony related to BMG and the relevant Claim Period arises at trial, the Court

 will rule when presented with the evidence at trial. The Court recognizes that this is a separate
 action with different Plaintiffs, and finds that the most efficient way to deal with these objections

 is to rule on admissibility ofoffered testimony under Fed. R. Evid. 801, 804, Fed. R. Civ. P. 32

 and any other rules deemed relevant at the time of trial. The Court disagrees with any argument
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